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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION


VANDERBILT HOOKS,

              Plaintiff,

v.                                            CASE NO. 5:18cv114-RH-MJF

H. SAPP et al.,

              Defendants.

_____________________________________/


                             ORDER OF DISMISSAL


       This case is before the court on the magistrate judge’s report and

recommendation, ECF No. 99. No objections have been filed. Upon consideration,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted as the court’s

opinion. The clerk must enter judgment stating, “This case is dismissed without

prejudice” The clerk must close the file.

       SO ORDERED on March 4, 2021.

                                       s/Robert L. Hinkle
                                       United States District Judge




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